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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


MICHAEL C. TRIMARCO                           )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )              Case No. 1:20-cv-01408-RGA
                                              )
                                              )
MICHAEL T. FARLEY et al                       )
                                              )
       Defendants.                            )
                                              )


            JOINT RULE 26(F) REPORT AND PROPOSED DISCOVERY PLAN

       Plaintiff, Michael C. Trimarco (“Plaintiff”), by counsel, and Defendants, Michael T. Farley

(“Farley”) pro se and Chris Cicolini (“Cicolini”) pro se, pursuant to Rule 26(f) of the Federal Rules

of Civil Procedure (the “Rules”), submit the following Joint Rule 26(f) Report and [Proposed]

Discovery Plan.

       The parties met and conferred pursuant to Rule 26(f) on January 29, 2021 (Counsel for

Plaintiff and Defendant Cicolini) and on February 22, 2021 (Counsel for Plaintiff and Defendant

Farley), and March 1, 2021 (Defendants Cicolini and Farley), and report as follows:

       1.      Nature and Bases of Claims and Defenses

       A.      Plaintiff’s Statement

        Plaintiff alleges claims of defamation, false light invasion of privacy and conspiracy as a

result of multiple false and defamatory statements published by Defendants and their agents

between March 3, 2020 and October 17, 2020. According to Plaintiff, the Defendants, acting in

concert together and with others, falsely and unjustifiably accused Plaintiff of multiple federal and
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state crimes and wrongly imputed to him fraud, dishonesty and deceit, as part of a scheme or

artifice to seize control of Uptempo Marketing and perpetrate and convert its business, rendering

them liable for the injuries, presumed damages and actual damages sustained by Plaintiff.

       Plaintiff contends that the positions espoused by Defendants in their statement below and

in their answers and affirmative defenses and other pleadings filed in this action are inaccurate and

meritless.

       B.      Defendants’ Statement

       The statements were neither false nor defamatory. As noted in Uptempo, Inc. v. Trimarco,

Ontario Superior Court CV-20-00647553-00, the plaintiff used fraud, dishonesty and/or deceit in

efforts to take property from Uptempo, Inc and its shareholders. These efforts are well-described

in the Delaware Chancery Court litigation and the Ontario Superior Court litigation.

       The plaintiff is engaged in multiple pieces of litigation spanning two countries, two states

and four jurisdictions (Ontario Superior Court x2; Delaware Chancery Court; Delaware Federal

Court; New York Supreme Court). Each litigation involves specific allegations of fraud. Those

matters are not proceeding well for the plaintiff, and at the present time, he is unrepresented in

several lawsuits.

       The plaintiff was sued by Uptempo and its subsidiaries in Ontario Superior Court. The

substance of the lawsuit is breach of contract and fraud by Michael Trimarco. The very claims

that Mr. Trimarco here alleges are false and defamatory were alleged as fact in the Ontario

complaint. Defendants allege that Mr. Trimarco and his businesses (IPPI and Melrose Ventures)

failed to answer that Ontario Superior Court Complaint which was served on them in December.

As a consequence, Defendants allege that the Ontario Superior Court has stated that the plaintiff




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is in default. Defendants contend that this is significant to the present case, because many of the

alleged defamatory statements in this case, are factually alleged in the Canadian lawsuit.

       It is the defendants’ position that this defamation lawsuit is a frivolous attempt to obtain

some type of leverage in his other legal matters. It is not clear why Delaware was selected as the

forum. Defendants have asserted procedural and substantive defenses to this action. Procedurally,

the defendants asserted lack of personal jurisdiction, improper venue and forum non conveniens,

because the plaintiff does not reside in Delaware, none of the defendants reside in Delaware, none

of the recipients of the communication reside in Delaware, and none of the communications took

place in Delaware.

       Substantively, the defendants do not deny that the statements were made, but most

importantly asserts that each statement was truthful. In addition, the defendant has asserted claims

of privilege, consent and that the statements were not defamatory. Moreover, the defendant has

asserted that the plaintiff’s reputation has not been impacted by these statements as much as by

Mr.Trimarco’s history of investigations and allegations of fraud related to Trimarco v. Data

Treasury Corp; State of Florida v. Advanced Wellness/Trimarco; Federal Trade Commission v.

Home Assure/Trimarco; International Vapor Group v. Trimarco; Intellipayment v. Trimarco;

Reinhardt v. Trimarco and other matters in litigation. The defendants will seek discovery from

plaintiff and third parties which will corroborate these defenses.

       2.      Settlement

        At the meet and confer, the parties discussed the possibilities for promptly settling or

resolving the case. On September 17, 2020, Plaintiff served a demand for retraction of the

statements at issue, an apology, an agreement to cease and desist from making and publishing

further false and defamatory statements, and for just compensation. Defendants refused Plaintiff’s




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demand. At this time, Plaintiff remains willing to discuss settlement, but an early settlement or

resolution of this case does not appear possible.

           Defendants’ Statement: There will be no settlement in this matter. The plaintiff may reach

some settlement in other litigation involving other litigation opponents, but no portion of such

settlement will be allocated to resolve this action. In recognition that this litigation may divert

Plaintiff’s attention from a resolution in larger matters, Cicolini has agreed to refrain from filing

any motion to compel 1 before March 19, 2021, and the parties have agreed to refrain from

expansion of litigation.

           3.       Magistrate Jurisdiction

           The Plaintiff does not consent to the jurisdiction of the United States Magistrate Judge

pursuant to 28 U.S.C. 636(c).

           The defendants consent to the jurisdiction of the United States Magistrate Judge pursuant

to 28 U.S.C. 636(c).

           4.       [Proposed] Discovery Plan

           The parties were unable to completely agree on a discovery plan. The parties report as

follows:

           (A)      Rule 26(a)(1) Disclosures – Completed

                    Defendant Cicolini made his R26 disclosures on January 29, 2021;

                    Defendant Farley made his R26 disclosures on February 22, 2021;

                    Plaintiff made his R26 disclosures on Feb 26, 2021.




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    Trimarco’s discovery responses to Cicolini were due on or about 3/2/2021.


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       (B)     Plaintiff’s Discovery Position

               (i)     Discovery may be needed on all subject matters relevant to the claims made

by Plaintiff in his Complaint [ECF No. 1] and to the denials and defenses raised by the Defendants

in their answers and affirmative defenses [ECF Nos. 5 and 11]. All fact discovery must be

completed no later than fifty (50) calendar days before the Final Pretrial Conference. “Completed”

means that all interrogatories, requests for production of documents, requests for admissions,

depositions, subpoenas to third-parties, and all other discovery requests must be served at least

thirty (30) days before the discovery cutoff.

               (ii)    Pursuant to Rule 26(f)(2), Plaintiff agrees to produce any discoverable

electronically stored information and retain any such information for the duration of the case and

produce such information.

               (iii)   Plaintiff agrees to retain and preserve all discoverable information until the

conclusion of the case.

               (iv)    It is Plaintiff’s position that no changes should be made in the timing and

limitations on discovery imposed under the Rules or by the Local Civil Rules, except as set forth

in the Court’s Scheduling Order. Any changes in the limitations on discovery or the timing of

Rule 26(a)(2) and (a)(3) disclosures imposed under the Rules, the Local Civil Rules, or the Court’s

Scheduling Order will be made by motion.

       Plaintiff’s contend that the statements and opinions offered by the Defendants below are

largely inaccurate and unnecessary. Plaintiffs believe that the parties must cooperate in good faith

in order to facilitate discovery in this case and avoid dispute. Plaintiffs contend that the parties

should meet and confer prior to the filing of any discovery motions as required by the Rules and




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the Magistrate Judge procedures for resolving discovery disputes set forth on the District Court’s

website.

       (C)     Defendants’ Discovery Position

               (i).    The Defendants intend to use the following discovery mechanisms:

               Rule 33 Interrogatories;

               Rule 34 Request for Production of Documents;

               Rule 36 Request for Admissions;

               Subpoenas duces tecum of approximately 30 entities;

               Deposition of various witnesses;

               Deposition of Michael Trimarco (noticed by Farley for April 2, 2021).

The pro se defendants are interested in a more regimented discovery plan than that espoused by

the plaintiff. A review of the plaintiff’s litigation history shows that he has been involved in over

thirty lawsuits. Some of these lawsuits languished for years before dismissal. Many of these cases

dragged on because there were no deadlines to keep the litigation on track. These defendants are

desirous of a prompt resolution of the matter and have commenced discovery diligently. Cicolini

served interrogatories, request for production of documents and a notice of deposition of Mr.

Trimarco on January 29, 2021. Those responses would have been due this week, but Mr. Cicolini

has agreed to refrain from filing any motion to compel until March 19, 2021. Farley served

interrogatories, request for production of documents and a notice of deposition of Mr. Trimarco

on February 22, 2021 (for April 2, 2021). The defendants propose closing fact discovery on July

31, 2021, and propose other dates below:

               Proposed Fact Disclosure Cut-off:      July 31, 2021

               Proposed Expert Disclosure:            August 31, 2021

               Rebuttal Expert Disclosure             September 30, 2021


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               Expert Depositions                     October 31, 2021

               Dispositives, Motions In Limine:       November 30, 2021

               Pretrial Memos Due                     February 1, 2022

               Final Pretrial Conference              On or about February 15, 2022

The defendants disagree with the following aspects of plaintiff’s discovery position:

       ●       The defendants request that documents be produced in “native format” for two

reasons: 1) native format preserves metadata such as the author and the date of drafting and editing,

and 2) native format is word-searchable. The defendants object to the production of pdf documents

which do not capture that data.

       ●       The defendants have each hired a third-party service provider to copy all documents

on their devices. The plaintiff has declined to do the same.

       ●       The defendants note that all claims of privilege, confidentiality or proprietary

information should be reported on a privilege log. The defendants object to the blanket production

of confidential, privileged or proprietary information and do not consent to its production. It is the

defendants’ position that plaintiff has previously used such data for mischievous purposes, to the

detriment of the defendants’ employer. The defendants agree to identify any information to which

it claims confidential, privileged or proprietary together with a description sufficient to provide an

opportunity to move to compel. Defendants agree that they will cooperate with the plaintiff,

including a case-by-case review to determine whether an agreement can be reached or a redacted

version of the privileged document can be produced.

       ●       With respect to limits on depositions, the defendants anticipate a need to file

approximately thirty (30) subpoenas duces tecum. The Fed. R. Civ. Proc. appears to limit a matter




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to 10 “oral depositions.” At this time, defendants do not anticipate more than ten (10) oral

depositions.

       5.      Amendments

       The parties agree that the deadline for amending the pleadings and/or adding any additional

parties is thirty (30) days after the Court enters its Scheduling Order in this action.

       Defendants’ statement: This change is respectfully suggested because we understand that

plaintiff has agreed to refrain from expanding the litigation for a period of two weeks. Without

the change, the original language would effectively bar any amendment.

       6.      Other Matters

       Native Format

       The defendants have requested that discovery materials (emails and documents) be

produced in a “native format” which captures the metadata contained within each document.

Producing in “native format” is a less-costly process, and reduces the amount of paper being used.

The defendants have notified the plaintiff of the importance of preserving this information.

       In addition, the defendants have already engaged the services of a third-party vendor to

secure their own data in a native format.

       Privilege Issues

       This defendant Farley is an attorney (not admitted in Delaware), and at all relevant times

was engaged as general counsel of Uptempo, Inc (the employer of all defendants). In this context,

he provided advice and counsel to the other named defendants between March 17, 2020 to the

present. Issues of attorney-client privilege and work product may arise in that context, as well as

in the context of communications with external counsel in Delaware and Canada.




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       Counsel for Plaintiff, and pro se parties Farley and Cicolini agree to cooperate with each

other and the Court to promote the just, speedy and inexpensive determination of this action.



Dated: March 23, 2021

/s/ Ryan M. Ernst                                   /s/ Michael T. Farley
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